
The People of the State of New York, Respondent,
againstTyriek Tucker, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Laurie Peterson, J.), rendered October 14, 2015, convicting him, upon a plea of guilty, of unlawful possession of marihuana, and sentencing him to a fine of $75.




Per Curiam.
Judgment of conviction (Laurie Peterson, J.), rendered October 14, 2015, affirmed.
We are unpersuaded that the bargained for sentence imposed - payment of a $75 fine - was harsh or excessive. "Ordinarily ... where defendant effects a plea bargain and receives the precise sentence that was promised, he should not later be heard to complain that he received what he bargained for" (People v Fair, 33 AD3d 558, 558 [2006], lv denied 8 NY3d 945 [2007], quoting People v Chambers, 123 AD2d 270, 270 [1986]). Although defendant claims that he is indigent, he never sought relief from the fine by way of a CPL 420.10(5) motion for resentencing (see People v Toledo, 101 AD3d 571 [2012], lv denied 21 NY3d 947 [2013]) and, indeed, has paid the fine.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: September 12, 2016










